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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Northern District
                                             __________  DistrictofofCalifornia
                                                                      __________


                       RAJA KANNAN                             )
                             Plaintiff                         )
                                v.                             )      Case No.     17-CV-07305-EJD
                         APPLE, INC                            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Raja Kannan                                                                                        .


Date:          08/27/2018
                                                                                         Attorney’s signature


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